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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION

 UNITED STATES OF AMERICA                                                            RESPONDENT


 v.                                    No. 1:13-cr-10007-003


 CHEVIS D. JOHNSON                                                                    MOVANT


                                              ORDER

        Movant, a Defendant in this criminal matter, has submitted his Motion under 28 U.S.C. §

 2255 to Vacate, Set Aside, or Correct Sentence. ECF No. 255. The Court has reviewed the Motion

 and finds the Government should respond.

        IT IS HEREBY ORDERED that the United States of America, by and through the United

 States Attorney for the Western District of Arkansas, is ordered to answer or otherwise respond to

 the issues raised by the Motion within sixty (60) days of the date of this Order.

        ENTERED this 22nd day of June 2016.


                                                          /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       UNITED STATES MAGISTRATE JUDGE
